                     Case 1:11-cv-00559-WMS Document 19-11 Filed 07/26/11 Page 1 of 1




      District 11

    Population Statistics                      Ethnicity                    Voter Statistics

City of Buffalo                 43,580   White                  65,306   Registered Voters     48,271
Town of Amherst                 14,441   % White               78.17%
Town of Tonawanda               25,523   Black                   9,168   Democrats             27,185
                                         % Black               10.97%    Republicans           10,342
Total Population                83,544   American Indian           663   Conservatives            667
Deviation                           -5   % American Indian      0.79%    Working Families         240
% Deviation                    0.00006   Asian                   4,022   Independence           2,067
                                         % Asian                4.81%    Green                    153
Age 18+                         66,506                                   Other                    453
                                         Hispanic Origin         5,652   Blank                  7,164
                                         % Hispanic Origin      6.77%
                                                                         Male                  21,546
                                         Black 18+               6,444   Female                26,725
                                         % Black 18+            9.69%
                                         Hispanic Origin 18+     3,273   Age 18 - 24            4,483
                                         % Hispanic 18+         4.92%    Age 25 - 34            9,107
                                                                         Age 35 - 40            4,676
                                                                         Age 41 - 45            3,880
                                                                         Age 46 - 54            8,218
                                                                         Age 55 - 61            6,357
                                                                         Age 62+               11,550

                                                                         Federal Voters          236
                                                                         Military Voters          58
                                                                         Disabled                586
                                                                         Nursing Home             76

                                                                         Voted 2007 Election   17,976
                                                                         Voted 2009 Election   11,756
